






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00257-CR






Michael Joseph Taplin, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 368TH JUDICIAL DISTRICT


NO. 05-1000-K368, HONORABLE BURT CARNES, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Michael Joseph Taplin seeks to appeal his conviction for two counts of aggravated
sexual assault of a child.  The pro se notice of appeal was filed two months after sentence
was&nbsp;imposed.  See Tex. R. App. P. 26.2(a).  The trial court has certified that this is a plea bargain
case and Taplin has&nbsp;no right of appeal.  See Tex. R. App. P. 25.2(a)(2), (d).  The court has
also&nbsp;certified that Taplin waived the right of appeal.  See Blanco v. State, 18 S.W.3d 218, 220
(Tex.&nbsp;Crim. App. 2000); see also Monreal v. State, 99 S.W.3d 615, 622 (Tex. Crim. App. 2003). 
The appeal is dismissed.

		






				___________________________________________

				Jan P. Patterson, Justice

Before Justices Patterson, Pemberton and Waldrop

Dismissed for Want of Jurisdiction

Filed:   May 22, 2007

Do Not Publish


